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IN THE UNITED sTATES DISTRICT COURT D-c-
FOR THE wEsTERN DISTRICT oF TENNESSEE USAUG 30 p"
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UNITED sTATEs oF AMERICA, W/D (_rzf; S_PE:MO[RT

VS. NO. 05-20100-Ma

KEETRICK MCKINNEY ,

Defendant.

ORDER GR.ANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Before the court is the August 29, 2005, motion by Keetrick
McKinney, to reset the suppression motion hearing presently set

on October 12, 2005. Counsel for the government does not oppose

the resetting. For good cause shown, the motion is granted. The

hearing on defendant's motion to suppress is reset to Thursday,
October 20, 2005, at 2200 p.m.
It is so ORDERED this 1"&` day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STA'I'ES DIS'I‘RICT JUDGE

 

This dochem entered on the docket sh t in compliance
with Fm|e 55 and.for 32tbd FRCrP on _. __Y_QL_Q§__'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20100 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

